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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                 Case No. 1:18-cv-25106-KMW-CMM


   United American Corp.,

           Plaintiff,

           v.

   Bitmain, Inc., Saint Bitts LLC d/b/a
   Bitcoin.com, Roger Ver, Bitmain
   Technologies Ltd., Bitmain
   Technologies Holding Company,
   Jihan Wu, Payward Ventures, Inc.
   d/b/a Kraken, Jesse Powell,
   Amaury Sechet, Shammah
   Chancellor, and Jason Cox,

           Defendants.


          JOINT CONSENT TO RULINGS OF A MAGISTRATE JUDGE
           WITH RESPECT TO ECF NOS. 41-43, 56, 98-99, 114, 116, 121

           In accordance with the provisions of 28 U.S.C.§ 636(c), the parties to the
   above-captioned civil matter (the “Action”) hereby jointly and voluntarily waive
   their right to proceed before a United States District Judge of this Court with re-
   spect to certain Defendants’ motions to dismiss for failure to state a claim and for
   lack of personal jurisdiction and Plaintiff’s motions for leave to seek jurisdictional
   discovery [ECF Nos. 41-43, 56, 98-99, 114, 116, 121] (the “Motions”). The parties




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   consent to the rulings of United States Magistrate Judge Chris M. McAliley, the
   Magistrate Judge currently assigned to the Action, on the Motions.1




   1The undersigned parties consented to the filing of this Joint Consent to Rulings of
   a Magistrate Judge on their behalf.


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   Dated: January 30, 2020             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

           I hereby certify that on January 30, 2020, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF.

                                                  /s/ Melissa Pallett-Vasquez
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